Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 1 of 6




  EXHIBIT A
     Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 2 of 6




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CIERRA GETER,                           )
                                        )       Civil Action File No.
      Plaintiff,                        )       1 :20-cv-01148-SCJ-JSA
                                        )
v.                                      )
                                        )
SCHNEIDER NATIONAL                      )
CARRIERS, INC.                          )
                                        )
      Defendant.                        )

        DECLARATION OF TRAVIS TORRENCE IN SUPPORT OF
         DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

      I, Travis Torrence, depose and state as follows:

       1.    My name is Travis Torrence. I am over the age of eighteen and am

otherwise competent to testify to the facts set forth in this Declaration. All statements

contained in this Declaration are true and correct based upon my personal

knowledge.

      2.     I currently serve as Operations Manager for Schneider National

Carriers, Inc. ("Schneider").

       3.    Schneider is a transportation and logistics company that operates as a

common and contract motor carrier throughout the United States and Canada.




                                            1
Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 3 of 6
Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 4 of 6
Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 5 of 6
Case 1:20-cv-01148-SCJ Document 46-3 Filed 06/07/21 Page 6 of 6
